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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA

    v.                                              Crim. Action No. 21-234 (CJN)

    JOSEPH W. FISCHER

                         Defendant.



         DEFENDANT’S SUPPLEMENT TO MOTION FOR TRANSFER OF
                              VENUE

          Joseph W. Fischer, by and through his undersigned counsel, hereby

respectfully submits this supplement in further support of his Motion for Transfer of

Venue.1

          Data now available confirms that significant majorities of potential jurors in

the District of Columbia share materially prejudicial views of the January 6

defendants as a group, including in ways that voir dire is not likely to reveal or cure.

          •       84% have unfavorable opinions of those arrested for participating in the
                  January 6 demonstrations;

          •       62% would characterize those individuals as criminals;


1
  As indicated in this Court’s Minute Order and Entry for Proceedings held on February 28,
2022, the Court has held Mr. Fischer’s Motion to Transfer Venue (ECF No. 55) in abeyance,
pending a renewal or amendment by March 23, 2022. Mr. Fischer timely submits this
supplement in further support of his initial Motion to Transfer, hereby renewing his request for a
transfer of venue.
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       •       71% have already formed the opinion that these individuals are guilty;
               and

       •       85% have already concluded that those who entered the Capitol had the
               specific intent to overturn the election.

       In light of this and other evidence explored below, the circumstances of this

 case, and the characteristics of the potential jury pool in the District of Columbia,

 Mr. Fischer respectfully requests that the Court grant his motion for a transfer of

 venue pursuant to the Constitution, and/or Rule 21 of the Federal Rules of Criminal

 Procedure.

I.     The new data reflects surveys of potential jurors in the District of
       Columbia, a comparable district in the Northern District of Georgia, and
       a news analysis.

       On behalf of all indigent clients charged in the wake of January 6, the Federal

 Public Defender for the District of Columbia retained the services of the

 professionals of Select Litigation to survey the District of Columbia jury pool. As

 explained in Exhibit 1 attached hereto, Select Litigation polled 400 potential District

 of Columbia jurors, and 400 potential jurors in the Atlanta Division of the Northern

 District of Georgia. In turn, Select Litigation retained the services of a media

 research firm, News Exposure, to analyze aspects of news coverage concerning

 January 6. See Ex. 1, with appendices.




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II.   Significant majorities of potential jurors in DC have prejudged the
      January 6 defendants.

      Select Litigation’s survey of potential jurors in the District of Columbia show

that significant majorities of these potential jurors have unfavorable impressions of

January 6 defendants and have concluded they are guilty.

      Exhibit 1 summarizes Select Litigation’s findings, but highlights include that

District of Columbia residents overwhelmingly:

      •       have unfavorable opinions of those arrested for participating in the
              January 6 demonstrations; and

      •       would characterize these individuals with broad brushes as conspiracy
              theorists, white supremacists, and members of violent right-wing
              organizations (70%, 58%, 54% respectively)

Ex. 1 ¶¶ 9, 14. These results indicate that most of the jurors will be predisposed

against January 6 defendants, will likely view them as guilty of conduct other than

that with which they are charged, and will likely consider them as posing a danger

to the community broadly, notwithstanding the strength or weakness of the evidence

that they committed the crimes charged.

      Significant majorities also

      •       would characterize these individuals as “criminals” (62%); and

      •       have already formed the opinion that these individuals are “guilty” of

              the charges brought against them. (71%)

Ex. 1 ¶¶ 14, 10.

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      One would expect most respondents to report that they could not predict how

they would judge a trial before it had begun, given social expectations arising from

the well-known civic duty of jurors in criminal cases to not determine guilt before

hearing all of the evidence. But over half of DC survey respondents were willing to

admit that they are more likely to vote “guilty” if they find themselves on a jury in

one of these cases (52%). Ex. 1 ¶ 11. The only thing that renders this unsurprising

are the other results reported above – reflecting a deep prejudice against January 6

defendants.

      These trends likely also explain the fact that close to four out of ten DC survey

respondents – who know themselves and their fellow citizens well – would not trust

a jury here to give them a fair trial if they themselves were accused of violating the

law on January 6th. See Ex. 1 ¶ 8 (reporting that only 67% of potential DC jurors

stated that they believed that they themselves would receive a fair trial if they were

defendants in a January 6 case).

      Further, the assessment of those respondents who claim that they believe the

January 6 defendants can receive a fair trial is suspect. Of those who profess to

believe that January 6 defendants can get a fair trial in this city, 76% have already

decided that these defendants are guilty. Id. ¶ 12. Further, 56% of this group confess

that they would be more likely to vote “guilty” if they were on a jury. Id.




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III.    Survey results from the Northern District of Georgia are powerful
        evidence that District of Columbia residents are particularly unlikely to
        be impartial

        Select Litigation’s study also reinforces Mr. Fischer’s argument that this

District is perhaps uniquely unlikely to produce an impartial jury. There is perhaps

no other place like the District of Columbia. As Select Litigation notes, it is one of

the least populous federal court divisions. A significant share of its population is

employed by the federal government. A very high proportion of its residents have

an associate’s degree or higher. Ex. 1 ¶ 21. And the ratio of Biden to Trump

supporters in 2020 was more lopsided in the District of Columbia than in any other

federal judicial division. Id. ¶ 22. Mr. Fischer expected that some of these factors –

and others, such as the fact that DC residents were personally impacted by the both

the events of January 6 and its aftermath – were bound to produce higher rates of

prejudice against January 6 defendants in this district than in other districts that are

comparable in other ways. Select Litigation’s survey and analysis clearly supports

this.

        Select Litigation surveyed 400 prospective jurors in the Atlanta Division of

the Northern District of Georgia, which is similar demographically to the District of

Columbia. Ex. 1 ¶ 19-23. The results show that significantly fewer potential jurors

there have set their minds against January 6 defendants. For example:




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       •       84% of DC survey respondents view people arrested in the wake of
               January 6th unfavorably, but only 54% of Atlanta division respondents
               do;

       •       71% of DC respondents are of the opinion that these individuals are
               guilty, but only 54% of Atlanta division respondents share this opinion;

       •       More than half of DC respondents say they are more likely to vote
               “guilty” if on a jury, but fewer than half of Atlanta division respondents
               say this;

       •       62% of DC respondents would characterize the January 6 defendants as
               “criminals,” and well over 50% would characterize them as “white
               supremacists” and “members of a violent right-wing organization,”
               whereas fewer than half of Atlanta division respondents would
               characterize the January 6 defendants in these three ways (48%, 40%,
               and 39%, respectively).

Ex. 1 ¶¶ 23, 24.

       Finally, the evidence suggests that jurors in other districts are more likely to

be like the Atlantans than like DC residents. Select Litigation asked both sets of

survey respondents to state whether they associated those who entered the Capitol

on January 6 with certain purposes, a question that had also been asked in a recent

national poll recently conducted by CBS/YouGov. Ex. 1 ¶¶ 3, 18, 25. 2 The results

show that potential jurors in Atlanta hold prejudicial views on this issue at similar

rates as survey respondents do nationally. Id. ¶ 25. But a far greater share of potential

2
 The results of the poll are reviewed at https://www.cbsnews.com/news /january-6-opinion-poll-
2022/ (last visited 2/4/22), and its methodology is described at
https://drive.google.com/file/d/1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view (last visited
3/15/22). As noted in Select Litigation’s Report, the firm mirrored the wording of the
CBS/YouGov poll as closely as possible to maximize the comparative value, even though Select
Litigation would have used different wording. Further, differences in methodology mean the
comparison is not perfect. See Ex. 1 ¶ 18.
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jurors in the District of Columbia hold prejudicial views on this issue. Id. ¶ 25. In

short, the evidence suggests that it is this district that is the national outlier in terms

of juror prejudice, not Atlanta.

IV.   Extensive media coverage may be one of many outside influences
      contributing to the material prejudice reflected in the survey data

      Although many defendants request a transfer of venue citing pretrial publicity,

the Sixth Amendment is concerned with whether jurors’ conclusions will be induced

by “any outside influence” rather than “only by evidence and argument in open

court[.]” Skilling v. United States, 561 U.S. 358, 378 (2010) (quoting Patterson v.

Colorado ex rel. Attorney General of Colo., 205 U.S. 454, 462 (1907) (opinion for

the Court by Holmes, J.)) (emphasis added). That outside influence can be public

print or “private talk.” Id. (quoting Patterson, 205 U.S. at 462). It can be “the sheer

number of victims.” See id. at 437-38 (Sotomayor, J., concurring in part and

dissenting in part) (quoting with approval the Fifth Circuit’s statement that the

district court overseeing Skilling’s trial “seemed to overlook that the prejudice came

from more than just pretrial media publicity, but also from the sheer number of

victims”); id. at 437 (quoting with approval the Fifth Circuit’s statement that district

court lost sight of the proposition that “[t]he evaluation of the volume and nature of

reporting is merely a proxy for the real inquiry: whether there could be a fair trial by

an impartial jury that was not influenced by outside, irrelevant sources”). Or the

improper outside influence may be the nature of the media to which jurors have been
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exposed, or its prevalence close to the time to trial, or its tendency to provoke

identification with those directly affected by the conduct at issue that the jurors feel

a personal stake in the outcome.” Skilling, 561 U.S. at 383 (discussing broadcast of

confession in small town in Rideau v. Louisiana, 373 U.S. 723 (1963)); see also

United States v. McVeigh, 918 F. Supp. 1467, 1473 (W.D. OK 1996). The outside

influence may also be “such identification with a community point of view that

jurors feel a sense of obligation to reach a result which will find general acceptance

in the relevant audience.” McVeigh, 918 F. Supp. at 1473.

      Here, Mr. Fischer has argued in his initial Motion to Transfer Venue that the

characteristics of the District’s population, the direct effect of the events of January

6 on them, and the government’s theory of the case are all outside influences likely

to prejudice DC jurors against January 6 defendants. New evidence reinforces Mr.

Fischer’s argument that media coverage may be another of the outside influences

contributing to the bias reflected in the survey results reported above.

      A.     Videos and photos heavily featured in media about January 6 have been
             “of the type readers and viewers could not reasonably be expected to
             shut from sight,” like the recorded confession in Rideau.

      Like the pretrial publicity on which the Court focused in Rideau, in which

the Supreme Court ruled that the district court should have transferred the case to a

new venue, the pretrial publicity about January 6 cases has been unforgettable and

unprecedented, it has “invited prejudgment of . . . culpability,” and it has been of


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the “smoking gun variety.” Skilling, 561 U.S. at 383.3 In Rideau, the Court

concluded that no voir dire could cleanse the taint of a video of the defendant’s

uncounseled interrogation and “interview,” which had been broadcast in a small

town several times before trial. Rideau, 373 U.S. at 727. Here, potential jurors have

been exposed to hours and hours of videos of the events of January 6, and

hundreds of pictures of those events. Even digital newspapers include video

footage embedded in articles.

       Whereas the single recording at issue in Rideau captured a “dramatically

staged confession of guilt,” Skilling, 561 U.S. at 382, the hundreds of January 6

videos and photos circulated over the last 13 months capture the scene of the

alleged January 6 crimes, and many of the alleged crimes themselves, including

potential crimes committed by many other people easily confused with Mr.

Fischer. Vivid images splashed across DC papers and television for the last thirteen

months show people scaling the Capitol walls, hoisting a hangman’s gallows and

noose, waving Confederate flags, putting their feet on the desks in the Capitol,

rifling through papers on desks in the Capitol, milling about and hanging from the


3
  In Skilling, although the Court established no bright line rules about when media can contribute
to a constitutional need to transfer venue, Justice Ginsberg noted that, when the Court has ruled
that a case should have been transferred to a new venue in order to preserve defendants’
constitutional right to trial by an impartial jury, it has emphasized (1) “the size and
characteristics of” the district with venue, (2) the extent to which news stories about the
defendant contained confessions “or other blatantly prejudicial information of the type readers or
viewers” in that venue “could not reasonably be expected to shut from sight,” and (3) the time
that has passed between periods of significant publicity and the trial (if any has). Skilling, 561
U.S. at 382-83; id. at 381 (“[P]resumption of prejudice . . . attends only the extreme case.”).
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balconies in the Senate Chamber, and appearing to try to break into the House

chamber, among hundreds of other scenes.4 Many of the images – and the general

impression that arises from viewing many of them – are “likely imprinted indelibly

in the mind of anyone who [viewed them],” just like the recorded interrogation in

Rideau would have been. See Skilling, 561 U.S. at 382-83. Much of this evidence

has nothing to do with Mr. Fischer, but because DC jurors have been inundated

with these videos, they cannot be expected to know that, or to “shut [them] from

sight” during trial. Id. at 382.

       As such, the pretrial publicity about January 6 has been “blatantly

prejudicial,” and distinguishable from the type of press coverage that failed to

convince the majority of the Supreme Court that prejudice should be presumed in

Skilling. Id. at 383 (distinguishing publicity in that case from the publicity in

Rideau because it contained “[n]o evidence of the smoking-gun variety” and was

not so shocking that it could not be shut from jurors’ minds during trial).




4
 See, e.g. Staff, “No pictures, no pictures’: The enduring images from Jan. 6,” The Washington
Post (Jan. 4, 2022), at https://www.washingtonpost.com/nation/ interactive/2022/photos-jan-6-
capitol/ (last visited 3/15/22); “Chilling images from the Capitol riot: Jan. 6 insurrection in
photos,” USA Today (Jan 5. 2022), at https://www. usatoday.com/picture-
gallery/news/politics/2022/01/03/jan-6-insurrection-photos-capitol-riot/9052798002/ last visited
3/15/22); D. Bennett, et al., “41 minutes of fear: A video timeline from inside the Capitol siege,”
The Washington Post (Jan. 16, 2021), at
https://www.washingtonpost.com/investigations/2021/01/16/video-timeline-capitol-siege/ (last
visited 3/15/22).
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       B.      Extensive local pretrial publicity about January 6 has not ceased in
               the short time that has passed between the event and upcoming trials.

       Moreover, data gathered by News Exposure at the direction of Select

Litigation establishes that coverage of January 6 has been extensive and persistent,

particularly in the District of Columbia. In just one year, District of Columbia

newspapers have already published at least 500 articles about January 6, and local

news syndicates have broadcast over 7000 stories about the day. Ex. 1 at App. B-7

(print data); App. B-1 (broadcast data).5 This coverage is far more extensive than

the coverage of the defendant that failed to persuade the Supreme Court that it

should presume prejudice in Skilling. See Skilling, 561 U.S. at 428-30 (Sotomayor,

J., concurring in part and dissenting in part) (noting that it took multiple years

between Enron’s collapse and trial for there to accumulate hundreds of Houston

Chronicle articles, and 1,600 local broadcast stories about Skilling).6

       Select Litigation also asked News Exposure to analyze coverage of January

6 in the Atlanta division of the Northern District of Georgia, which is similar

demographically to the District of Columbia. Ex. 1 ¶¶ 27-32. Comparison of


5
 These estimates may understate coverage of January 6, as News Exposure only counted hits
containing a short list of terms: “January 6 riot” or “Capitol insurrection” or “Capitol riot” or
“2021 US Capitol attack” or “Capitol violence.” The Washington, DC newspapers News
Exposure considered were The Washington Post, The Washington Times, and Washington
Examiner.
6
  While most of the coverage, particularly the recent coverage, has not focused on Mr. Fischer,
his concern is that he will be prejudiced by his association with an event and a group of
thousands that have been covered as a group incessantly – and negatively – by various news
media in the last year, both nationally and locally.
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coverage in this District to coverage in Atlanta reinforces how persistent coverage

has been in the District of Columbia. For example, in the month where January 6

was covered least by local D.C. broadcast affiliates (August of 2021), January 6

was still mentioned more than it had been in Atlanta in nine of the 12 months

evaluated. Ex. 1 ¶ 30; id. at App. B-1, B2. The data also shows that District of

Columbia print, broadcast, and web coverage of January 6 has exceeded Atlanta’s

equivalent’s almost every month, and has far surpassed Atlanta’s coverage over the

last year as a whole. Ex. 1, App. B. Indeed, for every story about January 6 in the

Atlanta Journal-Constitution since January of 2021, there have been at least two in

The Washington Post. Ex. 1 ¶ 28.

      In short, the data shows that District residents have been exposed to an

enormous amount of coverage of January 6, and more local coverage of January 6

than residents of a comparable district have, thereby reinforcing the point that

January 6 is a local story in addition to being a national story, and Mr. Fischer will

have a harder time seating an impartial jury in this district than in others.

V.    The data and other circumstances provide ample grounds to transfer.

      The concept of presumption of prejudice is predicated on the idea that the

institution of the jury is occasionally fallible. Of course, jurors are almost always

trusted to represent their views wholly and accurately during voir dire, and to

follow the court’s instructions if selected for the jury. But the Supreme Court has


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recognized that a failsafe may be needed under a narrow set of conditions that

make it more difficult for a juror to accurately assess their own bias, or to ignore

salient community attitudes about the case. See Rideau, 373 U.S. at 727

(concluding that no review of “the voir dire examination of the members of the

jury” was necessary to determine in that case that “that due process of law. . .

required a [transfer]”); see also, e.g., Murphy v. Florida, 421 U.S. 794, 802 (1975)

(“Even these indicia of impartiality [during voir dire] might be disregarded in a

case where the general atmosphere in the community or courtroom is sufficiently

inflammatory.”); Irvin v. Dowd, 366 U.S. 717, 728 (1961) (“No doubt each juror

was sincere when he said that he would be fair and impartial to petitioner, but

psychological impact requiring such a declaration before one’s fellows [during voir

dire] is often its father.”).

       Common sense suggests that the circumstances of January 6, the small size

of this district, its many federal employees, the aftermath of January 6, the political

makeup of DC coupled with the government’s theory of the case, and the persistent

news coverage of the events in this news- and politics-obsessed city make this

venue uniquely unlikely to produce an impartial jury as the Constitution demands.

Data Mr. Fischer now submits confirms that there are extremely high levels of

prejudice among potential jurors in this district, whether due to the influence of the

factors above, particularly high levels of pretrial publicity, or all of the above. To a


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remarkable and standout degree, most potential jurors here have already made up

their minds that the January 6 defendants are criminals, that they are guilty

generally, and that they are guilty specifically of seeking to stop the counting of the

electoral votes. They know that their friends and family have as well. Many do not

even realize that they have already prejudged essential elements of the

government’s case. As a result, even those striving to be honest during voir dire,

and striving to meet their obligations as jurors, would nevertheless remain partial

in ways that voir dire could not reveal.

      Under these extreme circumstances, prejudice must be presumed, and the

Court should transfer this case to another venue to preserve Mr. Fischer’s rights

under the Constitution, or at least pursuant to the Court’s discretion under Rule 21

of the Rules of Criminal Procedure. See Skilling, 561 U.S. at 446 n.9 (Sotomayor,

J., concurring in part and dissenting in part) (noting that district courts have wide

discretion to transfer a case to another venue even if trial in the originating venue

would not violate the Constitution, and that it would not have been imprudent to

transfer the Skilling case given “the widely felt sense of victimhood among

Houstonians and the community’s deep-seated animus toward Skilling” even if

these issues did not preclude a constitutional trial).

      No trial date for Mr. Fischer has been set yet. The District has already held

its first January 6 trial, United States v Reffitt, Criminal No. 1:21-cr-32-DLF,


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which garnered considerable media attention and resulted in verdicts of guilty on

all counts. By the time Mr. Fischer goes to trial, other January 6 defendants likely

will have gone to trial before him. This means the already-small pool of even

potentially eligible jurors will shrink, and pretrial publicity will likely experience

other spikes as trials are conducted and verdicts returned. As such, the list of

reasons for the Court to presume prejudice will only grow in the time between now

and Mr. Fischer’s trial. To ensure that Mr. Fischer is tried by an impartial jury, the

Court should transfer this case to another suitable venue as soon as possible.

Date: March 22, 2022                            Respectfully submitted:

                                                /s/ Lori J. Ulrich
                                                LORI J. ULRICH, ESQUIRE
                                                Assistant Federal Public Defender
                                                /s/ Amanda R. Gaynor
                                                AMANDA R. GAYNOR, ESQUIRE
                                                Staff Attorney
                                                100 Chestnut Street, Suite 306
                                                Harrisburg, PA 17101
                                                Tel. No. (717) 782-2237
                                                Fax No. (717) 782-3881
                                                lori_ulrich@fd.org
                                                amanda_gaynor@fd.org

                                                /s/ Eugene Ohm
                                                EUGENE OHM, ESQUIRE
                                                Federal Public Defender
                                                625 Indiana Avenue, NW
                                                Washington, D.C. 20004
                                                Tel. No. (202) 208-7500
                                                eugene_ohm@fd.org

                                                Attorneys for Joseph W. Fischer
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                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Defendant’s Supplement to Motion

for Transfer of Venue via Electronic Case Filing, and/or by placing a copy in the

United States mail, first class in Harrisburg, Pennsylvania, and/or by hand delivery,

addressed to the following:

      Alexis Jane Loeb, Esquire
      Assistant United States Attorney
      alexis.loeb@usdoj.gov

      JOSEPH W. FISCHER



Date: March 22, 2022                          /s/ Lori J. Ulrich
                                              LORI J. ULRICH, ESQUIRE
                                              Assistant Federal Public Defender
                                              Attorney ID #55626
                                              100 Chestnut Street, Suite 306
                                              Harrisburg, PA 17101
                                              Tel. No. (717) 782-2237
                                              Fax No. (717) 782-3881
                                              lori_ulrich@fd.org
                                              Attorney for Riley June Williams




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